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 8                                 UNITED STATES DISTRICT COURT
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                                  EASTERN DISTRICT OF CALIFORNIA
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11   JUSTIN GARCIA,                                 ) Case No.: 1:17-cv-00374 LJO JLT
                                                    )
12                  Plaintiff,                      ) ORDER DISCHARGING ORDER TO SHOW
                                                    ) CAUSE
13          v.                                      )
     MUSHEER A. KAKISH, et al.,                     )
14
                                                    )
15                  Defendants.                     )
                                                    )
16                                                  )

17          Recently, the Court ordered the plaintiff to show cause why sanctions should not be imposed
18   for his failure to serve the summons and complaint on defendants Kakish and Church and to prosecute
19   this action. (Doc. 15) The plaintiff responded and demonstrated that his diligent attempts to affect
20   service have been thwarted by these defendants. (Doc. 18) The plaintiff is continuing these attempts.
21   Id. at 3, 4. Therefore, the order to show cause is DISCHARGED.
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23   IT IS SO ORDERED.
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        Dated:     May 19, 2017                               /s/ Jennifer L. Thurston
25                                                     UNITED STATES MAGISTRATE JUDGE

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